Case 1:18-cr-00219-DAD-BAM Document 144 Filed 04/10/20 Page 1 of 3
Case 1:18-cr-00219-DAD-BAM Document 144 Filed 04/10/20 Page 2 of 3
AO l99C (Rev. 09/08-
                  Case   [Fresno]) Advice of Penalties
                     EDCA1:18-cr-00219-DAD-BAM                Document 144 Filed 04/10/20PagePage 3 of 3 3__ Pages
                                                                                              __3__ of __

                                        ADVTCE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT: MARK RODNEY NOBLE

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Viola ting any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federnl misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable byup to ten years in prison, and a $250,000 fine,or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or infonnant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant,or officerofthe court. The penalties for tampering, retaliation, or intimidation
are significantly more serious if they involve a killing or attempted killing.
       If, afterrclease, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. Ifyou arc convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more -you will be fmed
             not more than $250,000 or imprisoned fornot more than 10 years,or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than oneyear,or both.
       A term of imprisonment imposed for failure to app ear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appearor surrender may result in the forfeiture of any bond posted.

                                               Acknowledgment of the Defendant
       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appearasdirected, and surrenderto serve any sentence imposed. I am a ware ofthepena !ties and sanctions set
forth above.




                                                                                   /siMark Rodney Noble
                                                                                     Defendant's Signature




                                            Directions to the United States Marshal
( ✓ ) The defendant is ORDERED released aftcrproccssing.




Date:      April 10, 2020
                                                                                   .Judicial Officer's Signature


                                                                          DALE A. DROZD, DISTRICT JLTIGE
                                                                                     Pn'nted name and title




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